
954 So.2d 151 (2007)
STATE ex rel. Danny Ray GRAY
v.
STATE of Louisiana.
No. 2006-KH-1828.
Supreme Court of Louisiana.
April 20, 2007.
In re Gray, Danny Ray;  Plaintiff; Applying for Supervisory and/or Remedial Writs, Parish of St. Tammany, 22nd Judicial District Court Div. E, No. 284029; to the Court of Appeal, First Circuit, No. 2006 KW 0716.
Denied. La.C.Cr.P. art. 930.8; State ex rel. Glover v. State, 93-2330 (La.9/5/95), 660 So.2d 1189; State v. Parker, 98-0256 (La.5/8/98), 711 So.2d 694; La.C.Cr.P. art. 930.3; State ex rel. Melinie v. State, 93-1380 (La.1/12/96), 665 So.2d 1172.
